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COUNSEL FOR JPMORGAN CHASE BANK, N.A.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re:                                           )
                                                 )        Case No. 17-31646
MONTCO OFFSHORE, INC., et al.,,                  )
                                                 )        Chapter 11
                                   Debtors.      )
                                                 )        (Joint Administration Requested)
                                                 )

                                         NOTICE OF APPEARANCE

         PLEASE TAKE NOTICE that the undersigned hereby appears as counsel for JP Morgan

Chase Bank, N.A. (“JPM”) and pursuant to Federal Rules of Bankruptcy Procedure 2002,

3017(a), 9007, and 9010 and 11 U.S.C. § 1109(b), requests that copies of any and all notices,

pleadings, motions, orders to show cause, applications, presentments, petitions, memoranda,

affidavits, declarations, orders, disclosure statements and plans of reorganization, or other

documents, filed or entered in this case, be transmitted to:

Louis R. Strubeck, Jr.                           Bob B. Bruner (SBT 24062637)
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       PLEASE TAKE FURTHER NOTICE that, in accordance with Federal Rule of

Bankruptcy Procedure 3017(a), this request also constitutes a request in writing for copies of any

and all disclosure statements or plans filed in these cases.

       Neither this Request for Notice nor any subsequent appearances, pleadings, claims,

proofs of claim, documents, suits, motions nor any other writings or conduct, shall constitute a

waiver of either of such parties’:

              a.      right to have any and all final orders in any and all non-core matters
       entered only after de novo review by a United States District Court Judge;

               b.      right to trial by jury in any proceeding as to any and all matters so triable
       herein, whether or not the same be designated legal or private right, or in any case,
       controversy or proceeding related hereto, notwithstanding the designation vel non of
       such matters as “core proceedings” pursuant to 28 U.S.C. § 157 (b)(2)(H), and whether or
       not such jury trial right is pursuant to statute or the United States Constitution;

               c.    right to have the reference of this matter withdrawn by the United States
       District Court in any matter or proceeding subject to mandatory or discretionary
       withdrawal; and

              d.      other rights, claims, actions, defenses, setoffs, recoupments or other
       matters to which JPM is rightly entitled under any agreements or at law or in equity or
       under the United States Constitution.

       All of the above rights are expressly reserved and preserved unto JPM without exception

and with no purpose of confessing or conceding jurisdiction in any way by this filing or by any

other participation in these matters.




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Dated: March 17, 2017                           Respectfully submitted,

                                                NORTON ROSE FULBRIGHT US LLP

                                               By: /s/ Louis R. Strubeck              ,
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                                                COUNSEL FOR JPMORGAN CHASE BANK, N.A.




                              CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notice of Appearance was served upon the counsel and parties of record, electronically through
the Bankruptcy Court’s Electronic Case Filing System on those parties that have consented to
such service, on the 17th day of March, 2017.


                                                      /s/ Ryan E. Manns
                                                      Ryan E. Manns




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